






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-06-371 CV


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IN RE DEXTER JACKSON






Original Proceeding






     MEMORANDUM OPINION 


	Dexter Jackson filed a petition for writ of habeas corpus.  Jackson used the form for
a post-conviction application for a writ of habeas corpus.  See Tex. R. App. P. appendix.  On
September 7, 2006, we notified the relator that his petition did not contain the information
required to obtain civil habeas relief in this Court, referred him to Texas Rule of Appellate
Procedure 52 for the appropriate procedure, and provided time to amend the petition.  Relator
neither amended his petition nor filed any other response. 

	An original petition for writ of habeas corpus filed in the Court of Appeals is
controlled by Texas Rule of Appellate Procedure 52.  See Tex. R. App. P. 52.  The petition
must be supported by an appendix that contains a certified or sworn copy of any order
complained of, or any other document showing the matter complained of, and proof that the
relator is being restrained.  Tex. R. App. P. 52.3(j).  The relator must also file an
authenticated transcript of any relevant testimony from any underlying proceeding.  Tex. R.
App. P. 52.7(a).  Because Jackson has not provided the Court with a sufficient record to
determine whether he is entitled to the relief sought, the petition for writ of habeas corpus
is denied without prejudice to refiling. 

	WRIT DENIED.

								PER CURIAM

Opinion Delivered October 26, 2006

Before Gaultney, Kreger, and Horton, JJ.

	


